      Case 3:06-cv-03714-CRB Document 53 Filed 06/29/07 Page 1 of 2



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17   Dry Creek Rancheria Band of Pomo Indians
18
19
                             UNITED STATES DISTRICT COURT
20
                          NORTHERN DISTRICT OF CALIFORNIA
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22   MELISSA LORRAINE RUSS; KAREN                   Case No. C 06-03714 CRB/EMC
23   CASILLAS; KATHERINE MARIE
     CASILLAS SOMERSALL; and
24
     YOLANDA CASILLAS SOMERSALL,                    (PROPOSED) ORDER CONTINUING
25                                                  THE JUNE 29, 2007 CASE
26                             Plaintiffs,          MANAGEMENT CONFERENCE
27                vs.
28
     DRY CREEK RANCHERIA BAND OF                    Date:      October 12
                                                              _____________,  2007
29
     POMO INDIANS, et al.,                          Time:      8 30 (a.m./p.m.)
                                                              ___:___
30                                                  Location: Courtroom 8, 19th Floor
31                                                            450 Golden Gate Avenue
                              Defendants.
32
                                                              San Francisco, CA 94102
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     (PROPOSED) ORDER                                  USDC Case No. C06-03714 CRB/EMC
     CONTINUING THE JUNE 29, 2007
     CASE MANAGEMENT CONFERENCE
       Case 3:06-cv-03714-CRB Document 53 Filed 06/29/07 Page 2 of 2



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 2
            IT IS HEREBY ORDERED that the Case Management Conference date of
 3                                   October 12,
     June 29, 2007, be continued to _______________,           8:30 (a.m./p.m.) before the
                                                     2007, at ______
 4
     Honorable Charles R. Breyer, United States District Judge, in Courtroom 8, 19th Floor, Federal
 5
 6
     Building, 450 Golden Gate Avenue, San Francisco, California 94102.
 7          Further Case Management Conference statements shall be filed with the Court by
 8
      October 5
     _______________, 2007.
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     IT IS SO ORDERED.
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11                                                               T ES D        TC
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12              June 28
     Dated: _______________, 2007                _______________________________________




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                                                        Honorable Charles R. Breyer




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                                                                                 DERED
                                                        United States District Judge




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     (PROPOSED) ORDER                                       USDC Case No. C06-03714 CRB/EMC
     CONTINUING THE JUNE 29, 2007
     CASE MANAGEMENT CONFERENCE
